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NORTHERN DISTRICT oF CALlFoRNIA JAN Q,q°£`t`tt§

SUSAN Y. SOONG
CLERK. U.S. DtSTRtCT COURT
NDRTHERN DlSTRlCT OF CALlFORNlA
RECORDING TNDUSTRY ./'-\SSOCIATION
OF AMERICA, I`NC.

Case Number:

Plaimirf, I)ECLARATION oF MARK inconver
in suPPoRT oF lssUANcE oF
sU_BPoENA PURSUANT To 17 U.s.c §
512(11)

v.
TWITTER, INC.

Defendant.

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I, MARK MCDEVITT, the undersigned, declare that:

1. I am a Vice President, Online Anti-Piracy for the Recording industry Association of
America, Inc. (RIAA). 'l"he RIAA is a trade association whose member companies create,
manufacture or distribute sound recordings, audiovisual works and images. The RIAA is
authorized to act on its member companies’ behalf on matters involving the infringement of their
copyrighted sound recordings, audiovisual works and images

2. The RIAA is requesting the attached proposed subpoena that would order Twitter, lnc. to
disclose the identity, including name, physical address, IP address, telephone number, e-maii
address, payment information, account updates and account history of the user operating the
account @DetNotAnInsider, which posted the following content

https://twitter.com/ DetNotAnlnsider.)"status.~" l 08283 1078 8957 l 43 04

3. T he purpose for Which this subpoena is sought is to obtain the identity of the individual
who owns this account and who has reproduced and has offered for distribution our member’S
copyrighted image without their authorization This information will only be used for the
purposes of protecting the rights granted to our member_. the image copyright owner, under Title
ll of the Digital Millennium Copyright Act.

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I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct to the best of my knowledge, information or belief.

Executed at Washington, District of Columbia, on January 28, 2019.

 

 

Mark McDevitt

